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                                          December 22, 2020

   VIA ECF
   The Honorable Loretta A. Preska
   United States District Court
   Southern District of New York
   500 Pearl Street
   New York, NY 10007

          Re:     Giuffre v. Dershowitz, Case No 19-cv-3377-LAP
                  Joint Status Report

   Dear Judge Preska:

           In accordance with the Court’s order at the November 24, 2020, status conference, the
   parties submit the following joint report:

          Plaintiffs’ Documents

          Now that the Court has entered the parties’ proposed agreed protective order, Plaintiff will
   produce the confidential materials she has gathered thus far, including emails that contain
   confidential information, financial records, and medical records, within the next few days.

         Plaintiff will be prepared to produce her text messages and Facebook and WhatsApp
   messages once the parties have met and conferred concerning the parties’ text and social media
   messages. The parties plan to meet and confer on January 5, 2021.

          Defendant’s Documents

           Defendant anticipates substantially completing his production of responsive, non-
   privileged documents from his Gmail account (through the date of collection in April 2020) by
   approximately January 29, 2021. Defendant anticipates substantially completing his production of
   non-privileged non-email documents by that date, as well.

           The parties continue to confer with the President and Fellows of Harvard College
   (“Harvard”) concerning its response to the subpoena served by Plaintiff for, among other items,
   documents from Defendant’s university e-mail account. The parties provided revised proposed
   search terms to Harvard on December 8, 2020, and are awaiting search reports for those terms, as
   well as answers to various inquiries concerning the scope and nature of any review Harvard must
   perform before releasing the emails.

         Defendant is in the process of collecting his text messages and investigating the status of
   messages on his social media accounts.
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Page 2
                                      Respectfully,


    COOPER & KIRK, PLLC               TODD & WELD, LLP

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